 4:06-cr-03075-RGK-DLP   Doc # 6   Filed: 05/24/06   Page 1 of 1 - Page ID # 43



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiffs,         )
                                    )                 4:06CR3075
          v.                        )
                                    )
KENNETH SLOMINSKI and               )
HAROLD TITUS SWAN,                  )                    ORDER
                                    )
                Defendants.         )
                                    )




     IT IS ORDERED:

     The unopposed oral motion of J. R. Hobbs, counsel for
defendant Slominski, with the consent of Robert B. Creager,
counsel for defendant Swan, is granted and the initial
appearances as to both defendants are continued from May 31 to
June 20, 2006 at 1:30 p.m.

     Defendants are required to be present.

     DATED this 24th day of May, 2006.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
